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                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

LEE BURRELL,                                   §
                                               §
               Plaintiff,                      §
                                               §
v.                                             §         CIVIL ACTION NO. 3:20-cv-0256-E
                                               §
SECOND MAPLE AND MCKINNEY LP                   §
AND HERMITAGE INVESTMENTS, INC.,               §
                                               §
               Defendants.                     §

                                      ORDER OF DISMISSAL

       Before the Court is Plaintiff’s unopposed motion to dismiss this case with prejudice (Doc.

No. 12).    Plaintiff informs the Court that the parties have settled their dispute. The Court

GRANTS the motion and hereby ORDERS that this case is dismissed with prejudice to refiling.

Each party shall pay its own costs.

       SO ORDERED.

       Signed May 21, 2020.



                                                    ________________________________
                                                    ADA BROWN
                                                    UNITED STATES DISTRICT JUDGE




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